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        Federal Defenders
                                                                                                            Southern District
                                                                                                     81 Main Street Suite 300
       OF NEW YORK, INC.                                                                             White Plains, N.Y. 10601
                                                                                      Tel: (914) 428-7124 Fax: (914) 997-6872


         David E. Patton                                                                                                      Susanne Brody
                                                                                                                             Attorney-in-Charge
            Executive Director
                                                                                                                                White Plains
          and Attorney-in-Chief
                                                                         Defendant's request to adjourn the sentencing until
                                                                         Oct. 21, 2020 is granted without objection by the
                           October 13, 2020                              Government. Clerk of Court requested to terminate
                                                                         the motion (doc 306). Dated: Oct. 20, 2020
                           BYECF                                                    SOORO�
                                                                                                                  ✓

                           The Honorable Nelson S. Roman                                .,�             �   r' �---   _..;'" ---·· •'

                           United States District Court Judge                          _.   �✓·;·,·-·
                                                                                    HON. NELSON s. ROMAN .: .
                           Southern District of New York                            UNlTEDSTAT�S QIST.�ICT j{J{)GE
                           300 Quaroppas Street                  REQUEST TO BE FILED UNDER SEAL
                           White Plains, New York 10601

                                                     Re: United States v. Rocco Cermele
                                                              16 Cr. 786-04 (NSR)

                           Dear Judge Roman:

                           This letter is to request an adjournment of Mr. Cermele's sentencing to October 21, 2020, at
                           11:00 a.m. The Government filed a motion pursuant to U.S.S.G. 5K. l .1 on September 30,
                           2020. We request an opportunity to review the motion, and submit a sentencing letter to the
                           Court. The government does not object to this request. Additionally, probation has
                           recommended a sentence of time served. Mr Cermele has various health conditions that
                           would prohibit his physical appearance in court at this time. As noted in his Pre-sentence
                           Report paragraphs 66-68, he suffers from hyper tension, high cholesterol, is grossly over
                           weight and suffered a stroke in 2018. Therefore, we are requesting that his sentencing be
                           conducted by video conference. His medical conditions would qualify as "extra ordinary"
                           circumstances under the CARES Act. Should the Court require a formal CARES petition we
                           will, of course, follow the Court's directive. We thank the Court in advance for your kind
                           consideration.

                           Respectfully submitted,
                                  Isl
                           Susanne Brody

                           cc: James McMahon, AUSA
                               David Felton AUSA
                               James S. Mullen, USPO
                               Mr. Rocco Cermele

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